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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF NORTH CAROLINA ASHEVILLE, NC
Civil Action No, 1:21-cv-305-MR-WCM

MAR 04 2024

U.S. DISTRICT COURT
W. DISTRICT OF N.C.
CONSOLIDATED BRIEF IN SUPPORT OF
MOTION TO WITHDRAW EXPERT WITNESS,
MOTION TO RE-DESIGNATE EXPERT WITNESS,
AND MOTION TO COMPEL DISCOVERY

BROTHER T. HESED-EL,

Plaintiff,
v.

ROBIN BRYSON, et al.,

Defendants.

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This brief supports Plaintiff's three motions filed contemporaneously herewith,

WITHDRAW EXPERT WIENESS
A
On December 1, 2024, Plaintiff designated a seasoned medical doctor and forensic

psychiatrist with over 35 years of medical experience as the expert witness for Plaintiff's case in
chief (“Primary Expert’), accompanied by his expert report. The primary expert was originally
retained as an expert witness on October 21, 2021. Given the length of time and depth of
discussions that transpired from the date of retainer to the date of designation, said expert witness
was well informed and most equipped to opine regarding the defendants’ treatment of Plaintiff
below the standard of care and their reckless disregard of Plaintiff's cultural and religious beliefs.
Relevant Timeline

Primary Expert was scheduled to be deposed on February 8, 2024 and February 9, 2024,
On February 5, 2024, Primary Expert cancelled his deposition due to emergency medical -
complications outside of Plaintiff's control, From February 5, 2024 to February 15, 2024, despite
multiple attempts, Plaintiff was unable to reach Primary Expert to reschedule his deposition.

On February 15, 2024, the parties met and conferred regarding various discovery topics.

During their meet and confer, the parties discussed rescheduling the primary expert’s deposition.

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The parties also discussed Plaintiff filing a motion for leave to designate a new expert witness as
an alternative solution. On February 16, 2024, Primary Expert returned Plaintiff’s numerous
contact attempt and agreed to reschedule his deposition for February 24" and 25", Primary Expert
expressed that he was still battling from the complications regarding his health but would do his
best to follow through on his commitment as Plaintiff's testifying expert witness. Plaintiff
expressed to Primary Expert his concerns about his health and wished him a speedy recovery.

On February 17, 2024, Plaintiff retained a second expert witness (“New Expert #1”).
This new expert was qualified to opine regarding Plaintiff’s cultural and religious beliefs. On
February 23, 2024, Plaintiff retained another expert witness (“New Expert #2”). This new expert
was qualified to opine regarding Plaintiff's medical records. These new experts timely filed
rebuttal reports, but were also intended to replace Primary Expert in the event he became medically
unable to continue in support of Plaintiffs case in chief.

On February 24, 2024, Primary Expert cancelled his deposition again due to emergency
medical complications outside of Plaintiff's control. On February 25,°2024, the parties met and
conferred regarding the withdrawal and replacement of Primary Expert. Defendants’ counsel
agreed that he would not oppose a motion to withdraw Primary Expert as Plaintiff s case-in-chief

testifying expert witness, but would oppose replacirig Primary Expert.

REPLACE EXPERT WITNESS

New Expert #1 and New Expert #2 were designated as rebuttal expert witnesses in this case
and served with a copy of their rebuttal reports within 30 days of the defendants’ expert witness
reports. Given the exigent circumstances outside of Plaintiffs control that resulted in Plaintiff's
loss of his primary expert witness, Plaintiff has moved the Court to grant him leave to re-designate

his expert witnesses as follows:

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e Change Primary Expert to a non-testifying expert witness consultant
e Change New Expert #1 to a testifying expert witness (culture and religion expert)

e Change New Expert #2 to a testifying expert witness (medical/clinical expert)

MOTION TO COMPEL DISCOVERY
b

Plaintiff incorporates by reference the attached Rule 37 dispute letters, dated February 23,
2024 and March 2, 2024, as if fully stated in this paragraph.
Plaintiff’s First Requests to Robin Bryson
e Compel Robin Bryson to provide a sufficient response to Interrogatory #15;

o At minimum, she should identify the name of the program she was enrolled in, her
dates of enrollment, and identify all training materials that were used.

e Compel Robin Bryson to provide a sufficient response to Request for Production #8;

o At minimum, she should produce official documentation that shows the date an
accredited university or college conferred her with a Masters Degree in social work,
counseling, Ph.D. in Psychology, or other equivalent degree in a recognized mental
health field; and official documentation that shows the date she successfully
completed the North Carolina Department of Health and Human Services’
standardized training program and examination through UNC Behavioral Health
Springboard to earn the qualification or certification required to perform first level
commitment examinations in Nort Carolina; and

e Compel Robin Bryson to produce documents responsive to Request for Production #9
o She can satisfy this request by producing a copy of her résumé showing all of her

work experience, internships, training, and education covering years 2013 to 2023.

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Plaintiff’s First Requests to Mission Hospital
-® Compel Mission Hospital to provide a sufficient discovery response to Interrogatory #2;
e Compel Mission Hospital to provide a sufficient discovery response to Intetrogatory #10;
¢ Compel Mission Hospital to provide a sufficient discovery response to Interrogatory #15;
* Compel Mission Hospital to provide a sufficient discovery response to Interrogatory #16;
¢ Compel Mission Hospital to produce documents responsive to Request for

Production #3;

Respectfully, this 23 day of Sha’ban in the year 1445 A.H.

[tf Brother 7. Neaad-C@ ALE
Bro. T. Hesed-E], Plaintiff pro se
c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3 @gmail.com

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that this CONSOLIDATED BRIEF IN SUPPORT OF
MOTION TO WITHDRAW EXPERT WITNESS, MOTION TO RE-DESIGNATE EXPERT
WITNESS, AND MOTION TO COMPEL DISCOVERY has been sealed in an envelope with
sufficient postage affixed thereon, and deposited into the exclusive custody of the United States
Post Office, to ensure delivery to:
Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-steven.com

March 4, 2024
[ef Buother,7, Neard-Cb, ALL
Bro. T. Hesed-El, Plaintiff pro se

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